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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                    )
 SMITH, et al.,                                     )
                                                    ) Case No. 1:21-cv-2265-APM
         Plaintiffs,                                )
                                                    )
                        v.                          )
                                                    )
 TRUMP, et al.,                                     )
                                                    )
        Defendants.                                 )
                                                    )

    UNOPPOSED MOTION TO STAY CASE BY DEFENDANT ETHAN NORDEAN
       Defendant Nordean, through his counsel, moves the Court to stay the case with respect to

him until the conclusion of his parallel criminal trial. Plaintiffs do not oppose this motion.

Nordean provides the following reasons in support.

       The Amended Complaint’s allegations concerning Nordean are substantially derived

from, and track, the government’s allegations in United States v. Nordean, et al., 21-cr-175-TJK

(D.D.C. 2021). Nordean’s criminal trial in that matter commenced on December 19, 2022. It is

still ongoing. The parties expect the trial to conclude in mid- to late March, approximately one

month from the filing of this motion.

       The Court has the discretion to stay civil proceedings in the interest of justice and “‘in the

light of the particular circumstances of the case.’” Doe v. Sipper, 869 F. Supp. 2d 113, 115

(D.D.C. 2012) (Boasberg, J.) (quoting Sec. & Exch. Comm’n v. Dresser Indus., Inc., 628 F.3d

1368, 1375 (D.C. Cir. 1980)). The factors commonly weighed when a party moves to stay civil

proceedings in light of parallel criminal proceedings are: (1) the relationship between the civil

and criminal actions; (2) the burden on the court; (3) the hardships or inequalities the parties

would face if a stay was granted; and (4) the duration of the requested stay. Sipper, 869 F. Supp.



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2d at 116; see also Horn v. Dist. of Columbia, 210 F.R.D. 13, 15 (D.D.C. 2002) (laying out

similar factors). All of these factors support a stay of Nordean’s case for approximately 30

days.

        The “strongest case” for a stay is where both actions involve the same matter. Dresser,

628 F.2d at 1375-76; Sipper, 869 F. Supp. 2d at 116. When such cases proceed at the same time,

it will implicate the defendant’s Fifth Amendment rights. Sipper, 869 F. Supp. 2d at 116. The

defendant “would be forced to choose between waiving his Fifth Amendment right to defend

himself in the civil suit” or asserting the privilege and possibly losing the civil case. Id. (citing

Walsh Sec., Inc., v. Cristo Prop., Mgmt., Ltd., 7 F. Supp. 2d 523, 528 (D.N.J. 1998)). “A close

relationship between the two actions, furthermore, is often viewed as the most significant factor

in the balancing test.” Sipper, 869 F. Supp. 2d at 116.

        Here, the “civil and criminal actions . . . indisputably stem from identical events.” Sipper,

869 F. Supp. 2d at 116 (granting stay motion). The Complaint alleged that Nordean, Joseph

Biggs, Charles Donohoe, and Zach Rehl conspired to prevent Congress from certifying the

results of the 2020 presidential election. Compl., p. 5. That is exactly what the First Superseding

Indictment charged in Nordean’s criminal case. 21-cr-175, ECF No. 26. Plaintiffs allege here

that Nordean ran afoul of 42 U.S.C. § 1985(1). In the parallel criminal case, the government

alleges that Nordean violated 18 U.S.C. § 372; that is the criminal analogue to § 1985.

        By granting a stay in a civil case that is parallel to a criminal one, the Court may facilitate

the civil matter, whereby the burden on the Court would be eased. Sipper, 869 F. Supp. 2d at

116; see also Estate of Gaither ex rel. Gaither v. Dist. of Columbia, 2005 U.S. Dist. LEXIS

35426, at *4 (D.D.C. Dec. 2, 2005) (stay in civil case until resolution of criminal case may later

“streamline discovery” in the civil action). And the Court “has an interest in avoiding




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unnecessary litigation that would burden its docket and hamper judicial economy.” Sipper, 869

F. Supp. 2d at 116.

        As to the balance of party interests, there is no balancing for the Court to perform as

Plaintiffs do not object to the brief stay requested by Nordean. On the other side of the coin,

Nordean and his counsel are in court five days a week for trial and have no time to prepare

filings for this case or to participate in discovery.

        Finally, a stay with a limited duration is more likely to be granted than an indefinite one.

Sipper, 869 F. Supp. 2d at 118 (citing Landis v. N. Am. Co., 229 U.S. 248, 254-55 (1936)). Here,

Nordean’s requested stay—until the end of his ongoing criminal trial—would likely last a month.

That is only a third of the length of the stay granted in Sipper. 869 F. Supp. 2d at 116.

        For all these reasons, Nordean requests that the case be stayed with respect to him until

the conclusion of his criminal trial.

Dated: February 26, 2023                                Respectfully submitted,


                                                        /s/ Nicholas D. Smith
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                                     Certificate of Service

       I hereby certify that on the 26th day of February, 2023, I filed the foregoing motion with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

to the following CM/ECF user(s): Counsel of record.

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


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